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                               Exhibit B
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   From:              Peter Doyle
   To:                Daniel D. Quick
   Cc:                James Allen
   Subject:           RE: Worrell discovery
   Date:              Monday, November 25, 2024 1:13:16 PM
   Attachments:       image002.png
                      image003.png
                      image004.png
                      image005.png



  Dan:
  The following Dropbox link contains Defendants’ production regarding revenue:




  These are marked confidential under the protective order. Let me know if there are any issues
  accessing the files.

  Peter

  Peter E. Doyle
  SCHENK & BRUETSCH PLC
  O: (313) 774-1000, ext. 1116
  C: (313) 316-6679
  peter.doyle@sbdetroit.com


  From: Daniel D. Quick <DQuick@dickinson-wright.com>
  Sent: Monday, November 25, 2024 12:17 PM
  To: Peter Doyle <Peter.Doyle@sbdetroit.com>; James Allen <james.allen@sbdetroit.com>
  Subject: Worrell discovery

  Counsel:

  Please advise when or whether you intend to produce the documents you
  promised many weeks ago.

  Even though you never responded to the below email, I am attaching the
  settlement agreement, the royalty schedule from Judie’s 2023 return, and an
  email related to the August 2024 payment. This is all Judie possesses.



                      Daniel D. Quick
                      Member
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                  O:248-433-7242
                  DQuick@dickinsonwright.com
        2600 West Big Beaver, Suite 300, Troy, MI 48084

  From: Daniel D. Quick
  Sent: Friday, October 11, 2024 4:45 PM
  To: Peter Doyle <Peter.Doyle@sbdetroit.com>
  Cc: James Allen <james.allen@sbdetroit.com>
  Subject: RE: Worrell discovery

  Counsel:

  I have previously noted the significant delay engaged in by Defendants with
  regard to discovery. And we’ve had other communications over the course of
  this litigation on these issues. I will not repeat nor dwell on those issues for the
  moment, although they are relevant to any relief you might request from the
  Court and cut against any request for an extension of discovery.

  Documents regarding royalty income. Plaintiff responded to your written
  discovery on this issue. Thereafter, I spoke with Peter several times. In early
  2024 we agreed to produce the schedules from Mrs. Worrell’s tax returns, if
  any, which reflected royalties received. Those were subsequently produced.
  No additional issue was raised on this until your 9/26 email below. You have
  never presented any basis for receipt of the totality of her tax returns, and
  you’ve known of Plaintiff’s position on that issue, and done nothing about it, for
  many, many months. As for her 2023 return, she testified it had not yet been
  filed. I will see if it’s been filed in the interim and, if it has a similar royalty
  schedule, produce same.

  Consistent with Mrs. Worrell’s testimony, those schedules reflect only de
  minimis amounts of publishing royalties. Publishing royalties are not at issue in
  this litigation. Accordingly, any agreement regarding her BMI/ASCAP publishing
  royalties is irrelevant.

  In the 11/15/23 responses to document requests, we affirmed no SR royalties
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  were received on the works at issue in the litigation. Mrs. Worrell testified she
  did not receive any sound recording royalties from the works at issue in this
  litigation from Sony, UMG or Warner. You separately subpoenaed each of
  those entities and nothing in their production contradicted Mrs. Worrell.
  Subsequent to service of the discovery responses, Mrs. Worrell received a
  single royalty payment from Westbound in approximately August of 2024 of
  something around $5000. I am working to obtain any documents that
  correspond to this payment but do not possess them currently.

  Communications with dismissed defendants. This issue was discussed with
  Peter in early 2024 and we affirmed – and did so again subsequently – that
  such communications in Plaintiff’s possession were produced. Your focus on
  Boladian and his entities was also explored in deposition and Mrs. Worrell
  testified, among other things, that there were none concerning the SR royalties
  for the works at issue in the litigation. As to your statements concerning the
  record companies, we disagree with them, but Mrs. Worrell had no such
  communications that were not produced, with one exception. The estate did
  reach a settlement agreement with Westbound and, thereunder, received the
  aforementioned August 2024 royalty payment. While we do not believe it to be
  relevant, we are prepared to produce that agreement. As to Sony, UMG and
  Warner, the only agreement is the stipulation that was filed with the court on
  August 29, 2023. There are no other agreements (and if there were, they’d
  have been produced by the record companies) and no SR royalties paid by
  those entities.

  Documents regarding copyright registrations. Plaintiff has no responsive
  documents, as you were informed in the responses to the document requests.

  This should resolve all issues. Please advise if you agree.

  Defendants’ document production. With regard to Defendants’ document
  production, I do not believe we received documents reflecting revenues
  realized from those Works where Mr. Clinton (or one of his entities) owns the
  sound recording (i.e., those previously held by Warner). If I am mistaken, I
  would appreciate you directing me to the bates number/document. If such
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  information was not produced, please do so as it is necessary for damages.

  UMG/Warner/Sony/Maibach depositions. Please confirm whether any of these
  were served and if so when and how. Please also confirm whether anyone has
  produced additional documents, served objections, or indicated an intent to
  actually appear. You picked these dates unilaterally and the 15th in particular is
  problematic (on top of the now scheduled conference with Judge Grand).




  From: Peter Doyle <Peter.Doyle@sbdetroit.com>
  Sent: Thursday, September 26, 2024 4:08 PM
  To: Daniel D. Quick <DQuick@dickinson-wright.com>
  Cc: James Allen <james.allen@sbdetroit.com>
  Subject: Worrell discovery
   Dan: As discussed at today's status conference, the following is a detailed outline of Plaintiff's discovery deficiencies. Please let us know your availability to meet and confer tomorrow or Monday. Documents regarding royalty income. Plaintiff has failed to sufficiently produce




  Dan:
  As discussed at today's status conference, the following is a detailed outline of Plaintiff's
  discovery deficiencies. Please let us know your availability to meet and confer tomorrow or
  Monday.

  Documents regarding royalty income.

  Plaintiff has failed to sufficiently produce documents regarding royalties received by the
  Estate/Mrs. Worrell. The documents are clearly relevant to Plaintiff's copyright claims and
  Plaintiff's unsubstantiated assertion that the Estate and Mrs. Worrell are not receiving any
  royalties from the Works.

  RFP No. 3 requests proof of income (1099's, W-2's, etc.) for Estate of George Bernard Worrell,
  Jr. 2016-pres.; George Bernard Worrell, Jr. 1996-2016; Judy Worrell 1996-pres; and Any
  corporate entity owned/controlled by George Bernard Worrell or those in privity with him that
  received royalties of any sort or nature for any copyrighted work.

  Plaintiff initially objected on the basis of relevance and refused to produce any documents.
  Plaintiff subsequently produced one-page statements generally identifying categories of
  royalties that Mrs. Worrell received in the years 2015-2018 and 2022.

  Mrs. Worrell testified that the Estate receives royalties via wire transfer or check, and that
  there are 1099s issued for the royalties. She stated that she did receive royalties in 2023. She
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  also testified that she had been receiving royalties from BMI and ASCAP up until approximately
  two years ago. She also testified that she sold the estate’s interest to “LLC’s” in some of the
  Works for which she is being paid. We are entitled to see the documentation behind those
  sales/assignments to verify whether she/the estate already received compensation for
  damages she claims in the present suit.

  We request Plaintiff supplement with the 1099s, detailed tax returns for the years requested,
  all royalty statements, the documents memorializing the assignments/sales about which she
  testified, and any other documentation with sufficient detail to identify the source of the
  royalties paid to the Estate/Mrs. Worrell, including whether those royalties pertain to the
  disputed Works. If Mrs. Worrell is not in possession of her tax returns, we request that she sign
  an IRS Form 8821 authorizing the release of those returns.

  Documents regarding communications with dismissed Defendants or other third parties.

  RFP No. 6 requests any communication between Plaintiff and any defendant initially named in
  the Complaint.
  RFP No. 14 requests any communications between Plaintiff's counsel and counsel for the
  now-dismissed defendants.
  RFP No. 7 requests communications between Armen Boladian or any of his related entities
  and Mrs. Worrell, Bernie Worrell, or any attorney concerning George Clinton or the
  Complaint's allegations.

  In response to these requests, Plaintiff produced a total of about 7 emails between Mrs.
  Worrell and SoundExchange. Plaintiff did not produce any communications with Boladian, his
  entities, or representatives, even though Mrs. Worrell referenced such communications in her
  deposition testimony. We request that Plaintiff produce those documents, as well as any
  communications with the now-dismissed Defendants (to include Westbound Records)
  regarding the claims at issue in this litigation, the Works, and royalties (to include any
  advances on royalties). These communications are relevant to any copyright claims, royalty
  requests, or any other prior positions Plaintiff has taken regarding the Works. As for
  communications with counsel for the record companies, the requested documents go beyond
  "confidential settlement communications" and are relevant to the claims of copyright
  ownership, joint authorship, and royalties for the disputed Works. It is out position that you
  are suing the wrong parties and have dismissed those parties who would, if your client had a
  claim, be responsible for those claims. We are entitled to see whether your client received
  anything of value in exchange for those dismissals as that would be directly relevant to
  whether your client has already been compensated for money she now says my client has
  diverted from her husband/husband’s estate. As you are no doubt aware, Mr. Clinton does not
  receive any income from the exploitation of most of the sound recordings at issue in this case.
  We believe that those amounts are being received by the very defendants you have now
  dismissed from your suit which relates directly to, among other things, your efforts to mitigate
  your client’s damages by pursuing the parties who, if your client was damaged, would be
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  responsible for those damages.

  Your attention is also directed to Bates GCTHANG04069-71 a communication from Mrs.
  Worrell to Special Master Thomas Friedman in which she essentially blames Mr. Boladian for
  the very things the Complaint now says are Mr. Clinton’s fault. So you can understand our
  credulity, especially in light of King and Ballow’s appearance at our depositions and as the
  Estate’s counsel, at the notion that Mr. Boladian’s slightly hidden hand is not behind your suit.
  A jury would be entitled to decide whether this involvement bears upon, not just the credibility
  of Mrs. Worrell as a witness, but the credibility of your entire case, especially in light of the
  long history (“feud”) you referenced during today’s status conference.

  Documents regarding copyright registrations.

  RFP No. 10 requests documents regarding any attempt by Plaintiff to perfect any copyright
  interest in any Work. Plaintiff did not produce any responsive documents. Mrs. Worrell
  testified that she could not recall whether she or Mr. Worrell made any efforts to register any
  sound recording copyrights. If there were any attempts to register a copyright interest on
  behalf of Mr. Worrell for any of the Works, we request Plaintiff produce those documents.



  Peter E. Doyle




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  Detroit, MI 48226
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  C: (313) 316-6679
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  peter.doyle@sbdetroit.com


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  intended only for the named recipient(s), and may be legally privileged. If you are not the
  intended recipient, please delete the e-mail and any attachments, destroy any printouts
  that you may have made and notify us immediately by return e-mail. Neither this
  transmission nor any attachment shall be deemed for any purpose to be a "signature" or
  "signed" under any electronic transmission acts, unless otherwise specifically stated
  herein. Thank you.
